                                  AT THE UNITED STATES DISTRICT COURT
      FILED                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA

    NOV 30 2023                        Case No.   7: 2,~--cv.,,. l Co'?,\ ,..aj
 PETER A. MOORE, JR., CLERK
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BY _ __.,....,~ - DEP CLK
                                                              §
Marian Elizabeth Dubar, a woman dba                           §
Marian Elizabeth Dubar Estate Living Trust                    §
                                                              §
Prosecutor/plaintiff                                          §     Nature of case: claim
                                                              §     (verified)
                                                              §
                                                              §     Claim: Breach of Contract/
                                                              §          Breach of Trust
Ryan Hanks dba President/CEO for Go Store It Leland LLC; §
Ryan Hanks dba President/CEO for MADISON CAPITAL §
GROUP; Crystal Graham dba Manager for Go Store It §
Leland, LLC, Amy M. Youngblood dba General Counsel for §
Madison Capital Group                                    §
wrongdoers/defendant


                                       STATEMENT OF CLAIM

i, marian elizabeth dubar, a woman dba Marian Elizabeth Dubar Estate Living Trust as Beneficiary have a
claim against the defendant(s) Ryan Hanks dba President/CEO for Go Store It Leland LLC; Ryan Hanks dba
President/CEO for MADISON CAP IT AL GROUP; Crystal Graham dba Manager for Go Store It Leland, LLC,
Amy M. Youngblood dba General Counsel for Madison Capital Group acting agent for Breach of Contract,
Breach of Trust and Refusal of Tender for Settlement.

i, marian elizabeth dubar a woman dba Marian Elizabeth Dubar Estate Living Trust as Beneficiary has suffered
injury, loss and harm in the amount of Thirty Thousand ($30,000.00) USD for Lease#:1124/Unit 2073 &
Lease#: 1136/ Unit 2082


I Declare under penalty and perjury under the laws of the United States of America that the foregoing is
true and correct. 28 USC 1746

Non-citizen National of the United States Native North Carolinian

Subscribed and sworn to before me this        8IJh day of November, 2023.
                                                  By: ~ ~ q ,~
                                                      marian elizabeth dubar, a woman dba
                                                            Marian Elizabeth Dubar Estate Living Trust

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